






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-02-00692-CR






Dennis Michael Rainford, Jr., Appellant



v.



The State of Texas, Appellee







FROM THE DISTRICT COURT OF TRAVIS COUNTY, 403RD JUDICIAL DISTRICT


NO. 2010059, HONORABLE DON B. MORGAN, JUDGE PRESIDING






M E M O R A N D U M   O P I N I O N



Appellant Dennis Michael Rainford, Jr. pleaded guilty to assaulting a public servant
and was sentenced by the court to four years' imprisonment.  Tex. Pen. Code Ann. § 22.01 (West
2003).  Appellant's court-appointed attorney filed a brief concluding that this appeal is frivolous and
without merit.  The brief meets the requirements of Anders v. California, 386 U.S. 738 (1967), by
presenting a professional evaluation of the record demonstrating why there are no arguable grounds
to be advanced.  See also Penson v. Ohio, 488 U.S. 75 (1988); High v. State, 573 S.W.2d 807 (Tex.
Crim. App. 1978); Currie v. State, 516 S.W.2d 684 (Tex. Crim. App. 1974); Jackson v. State, 485
S.W.2d 553 (Tex. Crim. App. 1972); Gainous v. State, 436 S.W.2d 137 (Tex. Crim. App. 1969). 
A copy of counsel's brief was delivered to appellant, who was advised of his right to examine the
appellate record and to file a pro se brief.  No pro se brief has been filed.

We have reviewed the record and counsel's brief and agree that the appeal is frivolous
and without merit.  We find nothing in the record that might arguably support the appeal.  Counsel's
motion to withdraw is granted.

The judgment of conviction is affirmed.



				                                                                                   

				Jan P. Patterson, Justice

Before Chief Justice Law, Justices Kidd and Patterson

Affirmed

Filed:   June 26, 2003

Do Not Publish


